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EXHIBIT B
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SACRAMENTO, CALIFORNIA
THURSDAY, APRIL 27TH, 2006 - 9:15 A.M.
---o00---

THE CLERK: All rise.

court is in session.

The Honorable Lawrence K. Karlton is presiding.

THE COURT: Please, be seated.

Good morning, Ladies and Gentlemen. -

Folks, I would like to recall each of the witnesses
very briefly for a couple of questions which occurred to me
last night.

Mr. McKeever, will you retake the stand, sir. I
promise you, I won't keep you up there very long.

WITNESS MCKEEVER: Okay, Your Honor.

(Doug McKeever, having been previously sworn, resumes

the witness stand.)

EXAMINATION BY THE COURT
BY THE COURT:
Q. Mr. McKeever, I understood the testimony to be that
there is some budget revision opportunity in May, that is you
can get supplements if you get your request in by May; 1s
that right or wrong?

Do I not understand?

A. My understanding is that there is what is called the

May Revise Process.

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1 Q. And do you know when it would be necessary to
2 submit -- I gather the way you do that is you start by
3 submitting to the Department of Finance?
4 A. That be the first step. Yes, Your Honor.
5 Q. And do you know how long -- what am I trying to
6 ask -- when you would have to have the revision in to be
7 effective?

8 A. I don't know the exact date, but I do believe it is
9 coming up within the next few days, weeks. . .
10 we do have a representative here from the Department

11 of Finance that can probably address that question.

12 THE COURT: Thank you very much.

13 Do my questions require further inquiry?

14 MS. TILLMAN: No.

15 THE COURT: You may step down, sir.

16 Somebody from the Department of Finance, just --

17 Don't be sworn, just tell me. Just tell me.

18 MS. MANGUM: The May Revise is released -- is to be
19 released on May 12. we're still in the process of that.

20 THE COURT: I'm sorry, ma'am. You'll have to come to
21 the microphone. I cannot hear you.

22 MS. TILLMAN: Do you want her to appear at the

23 podium, Your Honor?

24 THE COURT: Will you state your name, ma'am?

25 MS. MANGUM: Sarah Mangum, M-a-n-g-u-m.

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1 THE COURT: You're from the Department.
2 MS. MANGUM: Department of Finance.
3 The May Revise is released on May 12. we are
4 currently in the process of reviewing it. we did already
5 receive most May Revise Proposals for the Department of
6 Corrections to review. However, we would consider, you know,
7 working with them to put forward any proposal that's
8 available.
9 THE COURT: what is the last date that they could get
10 information or a request to you that could possibly be
11 revised?
12 MS. MANGUM: I would have to speak with my management
13 to find out the last date, but I believe it would be in the
14 next week or so.
15 THE COURT: All right.
16 $0 that what would be required is an order from the
17 Court -- if it is beyond that date, an order of the Court to
18 at least consider it and process it.
19 MS. MANGUM: I don't believe an order of the Court
20 would be required. It may be required for us to pursue it
21 with the Legislature through a different vehicle than the
22 budget.
23 THE COURT: Okay. Thank you, ma'am.

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Mr. Sifuentes, can I ask you to come back again for

just a moment.

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WITNESS SIFUENTES: Sure.
(George Sifuentes, having been previously sworn,
resumes the witness stand.)
EXAMINATION BY THE COURT
BY THE COURT:
Q. Mr. Sifuentes, you're going to have to forgive me. I

don't have the documents in front of me, and I'm easily
confused at this point.

As I understand it, you are in the process of
developing beds for Level IV inmates in Folsom; is that
correct?

A. No, not at Sacramento.

The proposals we have for Level IV, ICF inmates,
would be the proposals right now we have is. to modify P-2 at
CMF, and to modify and add additional beds over at Salinas

Valley State Prison.

Q. Okay. Not at Folsom. There is something going on at
Folsom?
A. There is a project going on at Folsom. It is Sac. --

jt is called the Sac. EOP Program.

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In addition to that, they are adding a Correctional

Treatment Center which is going to provide some mental health
crisis beds.
Q. when will that -- when is it projected that will be

accomplished?

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A. My understanding is that that project will be done by
June 30th.

MS. TILLMAN: Your Honor, if I might interject, which
project?

WITNESS SIFUENTES: The CSP-Sacramento.

MS. TILLMAN: EOP? EOP?

WITNESS SIFUENTES: Yes.
BY THE COURT:
Q. You indicated there are beds going in at Salinas

right now for Level Iv treatment cells, if you will; is that

right?

A. That's correct. we just completed renovation for 36
cells.

Q. And you're planning what?

A. At Salinas?

Q. Yeah.

A. Two projects at Salinas. Number one is a 64 bed ICF,

which is in addition to the 64 bed facility that's there.
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That's one project.

Q. when is that going to be done?

A. The schedule, I believe, calls for it to be done in
2009.

Q. Okay.

A. And that's in the plan.

The second part of Salinas valley had to do with

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converting some existing housing units that we have there at
Salinas and making them available for ICF. Unfortunately,
those can take as long to get done.

I mentioned yesterday that we did the 36 beds, and
then we had a proposal in the governor's budget to come back
and make those code compliant, as well as some other ones.
Q. ‘If the Court ordered the state to expand the number
of units that you just put in, double them, you know, with
the same waiver provisions and going back later to get them
code compliant, how long would that take?

A. well, the 36 beds at Salinas valley took seven
months. So I would have to -- assuming it's the same
requirements, the buildings would be the same, I would tell
you seven to eight months.

Q. All right.

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Talk to me about Corcoran. Assume that the Court

were: to order Corcoran to accept Title IV, dangerous --
whatever we call them, high level, you know.
A. High-custody.
Q. Thank you. High tevel inmates. It would require, as
I understand from Mr. Rodriguez's testimony, a major change
in the physical plant because he says that they're all open
dormitories today.

A; is that correct?

MS. TILLMAN: Your Honor, if I might clarify, are we

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discussing Coalinga State Hospital?

THE COURT: What did I say?

WITNESS SIFUENTES: Corcoran.

THE COURT: I meant Coalinga.

MS. TILLMAN: That's Coalinga, high-custody Level Iv?
BY THE COURT:
Q. Assume that I would do that. I'm not going to say
I'm going to do any of these things. I'm trying to
understand what my options are.

Are you familiar with Coalinga?
A. No. That project was designed and built by the State
Department of General Services for the Department of Mental

Health, and I believe they did the feasibility study that was
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14 referenced.

15 Q. I want you to assume -- I don't know it so, but I
16 want you to assume that the present physical condition of
17 Coalinga is such that it's open dormitories, open rooms,

18 people wandering around the place, et cetera, and I ordered x
19 number of -- let's just put a number on it just to get some
20 sense of where we're going -- 30 Level Iv, high-custody

21 _ prisoners to be housed there.

22 How long would it take to convert whatever there is
23 there, if you know, if you can even reasonably estimate?

24 A. I couldn't, Your Honor. I couldn't do that. I am
25 not familiar at all with Coalinga.

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1 THE COURT: Fair enough. If you can't, you can't.

2 Okay. I think that answers the question.

3 Thank you, sir. will you step down.

4 WITNESS SIFUENTES: Sure.

5 THE COURT: Mr. Rodriguez, may I ask you to take the
6 stand again, sir. Again, it will be very brief.

7 I'm sorry. Before I do that, did my questions

8 require further questions by counsel?

9 No?
10 No?

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MS. TILLMAN: No, thank you.

(John Rodriguez, having been previously sworn,
resumes the witness stand.)
EXAMINATION BY THE COURT
BY THE COURT:
Q. All right.

Mr. Rodriguez, will you please again list for me all
of the conditions which in your view contra-indicate the
placement of high-custody Level Iv prisoners at Coalinga?

A. I presume you're asking in terms of the individuals,
as well as the facility?

Q. Yeah,

A. I think you noted most of them in terms of its open
nature, the construction is built is to hospital standards as

opposed to correctional standards, and, you know, the

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perimeter walls are cylinder block, yada, yada, yada, and the
interior walls are, you know, covered with plaster and things
like that.

And then open access, you can go anywhere you want
throughout the building. Treatment staff space is not on
their units generally, although there are rooms for
treatment, mostly off unit stuff.

Then in terms of the individuals, the high-custody,
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as I understand it, are people who are very dangerous in
terms of assaults, escape risks. There could be other
problems with respect to problems they have with other
inmates. As I understand it, those kinds of things.
Q. You know, I understand you're not an architect. If
your answer is "Don't ask me, Judge," I understand it
perfectly.

Does the configuration of Coalinga lend itself, if
necessary, to reconstruction of a wing or a section so that
assuming that we had the money, assuming we had the time, all
the rest, it would be feasible to create within Coalinga, so
to speak, a Level IV wing or section or something?

A. Generally, yes. And I'm not sure it's an architect
question, but if you are doing an aerial view of it, the
administration buildings are at the front of the hospital,
and you have a walkway into a central area where all the

central program services are. This is where, like, treatment

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stuff is, the central medical services, the gymnasium, the
cafeteria, the barber shop, the chapel, things like that.
And it's a big open mall-type area where people can
congregate, get a lot of just mingling and things like that.

Then off this central area you have four major, I

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would call them, pods, if you will. And that, I think, would

be relevant to your question. Somehow could you block off,

tear down, and completely separate that part of the

hospital.
Q. A part.
A. Pardon me?

Apart. It would involve, though, probably a couple
hundred of our beds. Because it is not pods of 50, it is --
You see what I'm saying? was that good enough?

Q. It's more than good enough.

what I hear you saying, and tell me whether or not
I'm hearing you right, is we could take a pod, but that in
your view it would be difficult to divide the pod, let's say
just stealing 50 beds, with the attendant requirements for
treatment and feeding in that pod and custodial personnel.

That's probably very, very difficult to do you think?
A. That would be my judgment, sir.

THE COURT: All right.

My questions invite questions of counsel?

Mr. Bien?

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CROSS - EXAMINATION
BY MR. BIEN:

Q. Mr. Rodriguez, right now the facility is built and
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4 designed for 1500 beds?

5 A. Yes.

6 Q. Right. And is it correct that you have, what, less
7 than 300 patients?

8 A. A little less than 300.

9 Q. So there is a lot of empty space there?

10 A. In terms of the housing, yes, not in terms of the
11 central program services.

12 _ THE COURT: Right. Thank you, mr. Bien. That's
13 helpful.

14 Ma'am?

15 CROSS~EXAMINATION

16 BY MS. TILLMAN:

17 Q. Good morning, Mr. Rodriguez.
18 A. Good morning.
19 Q. Have you represented any ability of the Department of

20 Mental Health to admit high-custody Level IV inmates into

21 Coalinga State Hospital?

22 A. No, I never have.

23 MS. TILLMAN: Thank you.

24 THE COURT: I don't know what your question was,
25 ma'am. My apologies.

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MS. TILLMAN: I'm sorry. The question was whether

Mr. Rodriguez had ever represented the ability of Coalinga
State Hospital to admit Level Iv, high-custody inmates.

THE COURT: One of the impediments is the MoU, but
that's easily solved. I'l] just abrogate it. we have a
crisis. I'm not saying I'm going to do that. I assure you I
don't know what I'm going to do. But we have a crisis we
have to meet somehow. It's the State's responsibility.

Thank you, sir. You may step down.

WITNESS RODRIGUEZ:- You're welcome.

THE COURT: Call your next witness, ma'am.

Hang on a second. You know what, before you do that,
Michael, can I-ask you to come here.

(Court confers with the Special Master off the

record.)

THE COURT: Call your next witness, ma'am.

MS. TILLMAN: Your Honor, returning to the list of
questions posed by the Court, looking at page 3, Interim
Solutions for Mental Health Crisis Beds, we'd like to call
Doctor Peter Szekrenyi.

PETER FARBER-SZEKRENYTI,
was thereupon called as a witness herein by the Defendants,
and having been sworn to tell the truth, the whole truth and
nothing but the truth, was thereupon examined and testified

as follows:

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THE CLERK: Take a seat, state your name, spell your
last name and speak directly into the microphone.

THE WITNESS: Okay. My name is Dr. Peter
Farber-Szekrenyi, F-a-r-b-e-r, dash, S-z-e-k-r-e-n-y-i. And
I am the Director of the Correctional Health Care Services
and also the point person for Governor Schwarzenegger in all
health care matters relating to Corrections.

DIRECT EXAMINATION
BY MS. TILLMAN:
Dr. Szekrenyi, good morning.
Good morning.
How long have you served in your position?

Since December 1.

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When you say you are the point person for the
Governor, are you indicating that you are appointed to your
position by the Governor?

A. Yes, I am appointed to my position. Also in the
Plata court matter there was requested a point person to be
appointed and I was appointed by the Governor to represent
him in the Governor's office relating to health care matters.
Q. Have you previously served in any position within the
California Department of Corrections and Rehabilitation?

A. No, I have not.

Q. Can you give the Court a very short statement of your

background and experience in health care administration?

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Yes. I've been in health care for about 35 years, 30

years out of that at CEO positions for organizations with

~anywhere from 2 million to 2.5 billion dollar companies that

managed health care enterprises of a size equal to this or
even larger.

Q. You are familiar with some of the issues then that
come up in the course of this hearing regarding the bed
plans; is that correct?

A. Yes, I am.

Q. when we look at the question posed by the court, |
"what is the time frame for deciding which solutions will be
implemented to address the mental health crisis bed issue and
when will they implemented," do you have a response?

A. Yes, I do. I have a response. .

In our Bed Plan, which we filed with the Court, we
mentioned in there on page, I believe, 10, the several
alternatives we are reviewing for short-term, if you will,
responses to our crisis needs.

In addition to that, we have identified in the last
couple of days another four or five additional plans that
we'd like to pursue.

If we are looking, for example, in the short-term
strategies for crisis beds, we have a 75 bed need. we have
identified approximately 112 beds that could be utilized.

In the area of the ICF bed needs, we identified 125

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1 need. We came up with approximately 147 beds.

2 what we are asking the Court for is a 60-day time

3 period to make sure we can get these through the system and
4 come up with concrete plans of action within that 60 days,

5 how will we accomplish this task, and what impediments we

6 encounter which the Court then can decide to assist us with
7 in order to achieve it within a short time frame that I think
8 itis feasible.

9 THE COURT: Doctor, I understand you need 60 days.
10 Can you do it in 30?
11 THE WITNESS: I will do whatever the Court requires
12 me to do.
13 THE COURT: I appreciate that, sir. But what I'm
14 trying to do -- I want to put this on a very short fuse, but
15 I don't want to make it impossible.
16 THE WITNESS: The 60 days is what I would be
17 comfortable we can do it at. I will certainly do my best
18 with 30, but if you give me 45 -- not trying to split the
19 numbers -- but you give me 45, I think I'll be able do that
20 if you can give me that latitude.
21 THE COURT: All right.
22 MS. TILLMAN: Your Honor, if I might just skip
23 Question No. 2 for a moment and look at Question No. 3 which
24 asks about "Obstacles related to licensing requirements

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resulting from the State Court decision in Budd,” if I might

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suggest, Your Honor, that we discuss that further once we
actually have these plans presented to the Court and perhaps
use it as a topic of discussion at the June 8th hearing, that
might be valuable.

THE COURT: All right.
I'm perfectly happy to do that. That makes sense to
me. I just want to remind everyone that when push comes to

shove, the State's licensing provisions must be subordinated

to the Constitution.

I certainly don't want to do that. I understand that
the licensing provisions are valuable standards to ensure the
well-being of the patients. But we're in a desperate
situation, and we all ought to recognize that.

THE WITNESS: Your Honor, just a couple of things
maybe in terms of giving you some sense of urgency on our
part.

we have already met with Licensing several times.

And I find Licensing to be very supportive and helpful in our
need. And I think they will obey the consequences of some
action now versus some requirements they have, which are
perfectly legal and right to do ‘so, but in the interest of

the crisis that we're in, I think they are more than willing
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to take that into account. So I feel comfortable working
with them.

Also you need to understand, I come from the private

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sector where patient care is predominate. That's what I am
here for. So I can assure you the patient care is going to
come before anything else.

THE COURT: You may proceed, ma'am.
MS. TILLMAN: TI have nothing. further of this witness.
Thank you.
THE COURT: Mr. Bien.
CROSS-EXAMINATION

_BY MR. BIEN:

Q. ’ Good morning, Doctor.

A. Good morning.

Q. when you came .on board, you were informed, were you

not, that the Department of Corrections has hundreds of
patients who are referred for crisis bed care each month who

are not receiving that care?

A. Yes, I'm aware of that.

Q Okay. And is it not correct that's the case today? .
A. Unfortunately, yes, it is.

Q Okay. And you were informed that that has been the

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20 case at least since the summer of 2004?
21 A. I'm not sure of the date. Probably prior to my time,
22 but that has absolutely been the case, yes. More longer than

23 it should be, yes.
24 Q. And is it not also the case, Doctor, that the

25 Department has had to come with a plan for each prison to

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1 determine which cells are to be used when crisis beds are not
2 avai lable?
3 THE COURT: Do you. understand the question?
4 THE WITNESS: NO, I don't. Do you mind repeating.
5 BY MR. BIEN:
6 Q. Are you aware that last summer, the summer of 2005,
7 before you came, but that as a result of pressure from the
8 Coleman Case, from this case, Mr. W issued a memo requiring
9 each warden and health care administrator to develop a plan
10 in light of the crisis of shortage of MHCB beds?
11 A. No, I'm not aware of that. No.
12 Q. Can I show you this document?
13 A. Sure.
14 Q. This is --
15 THE COURT: You want to have it marked?
16 MS. KAHN: It's an exhibit to the declaration.
THE COURT: It's exhibit what?

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MR. BIEN: It's Exhibit K to Jane Kahn's declaration.

THE COURT: All right. That's fine then.

THE WITNESS: Any specific paragraph you want me to
look at or --

THE COURT: Let me start by saying have you ever seen
this document before?

THE WITNESS: NO, I have not.

THE COURT: What's the point of asking him things

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about it?
BY MR. BIEN:
Q. As part of your job, have you made sure that each

prison has a plan to address what happens with inmates who
are referred for crisis bed care and can't get it?

A. we have daily discussions with each of the prisons in
terms of what's happening with the movements of the patients —
and whether they can or cannot be accommodated. Yes, we do.
Q. Are you aware that as of January of this year less
than five percent of patients referred for crisis bed care in
the system received that care within 24-hours?

A. I'm aware that we're not providing proper care that
we should be, yes.

Q. You mentioned that you had several plans for beds?

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A. . Yes.

Q. And that we should wait more time -- give you more
time to come up with these plans?

THE COURT: Make them concrete is what he said.

BY MR. BIEN:

Q. what are the plans? what are the ideas that you've
got?

A. -Well, if I would be able to discuss them with you

right now, to tell you the truth, then I would be much closer
to answering the question because I haven't been able to do

that with the process.

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But I can tell you basically the issue, the basis of
the plans is moving out medical patients to more appropriate
levels of care, making availability of licensed beds for the
crisis patients' needs.

So it's going to be movement of those in general
care, some construction and some modifications. we can doa
lot in the short order in my opinion, but it has to be make
sure we can go through the system. But in my opinion we can
get that accomplished.

Q. So it is correct that you found, when you came to the
Department of Corrections, that MHCB beds and correctional

treatment center beds were frequently occupied by people on a
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long-term basis; is that correct?
A. That's correct. As my responsibilities in both the
medical sides, if you will, medical care, both dental side as
well as mental health side, my responsibility is to provide
care for all those patients in an appropriate manner.

It's very clear that a lot of the acute care beds
right now are housing mental health patients. No question
about that, yes.

Q. My question is isn't it correct that a lot of the
beds in correctional treatment centers are housing patients
for longer terms than the ten days they were designed for?
A. Yes, they are.

Q. Okay. And some of these patients are medical

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patients whose needs are not acute but chronic?
A. Yes, that's correct.
Q. And that's a significant number of the beds that are

occupied for long periods of time by this population?
A. Which shouldn't be. That's correct.

The plan that we are coming up with addresses that
issue. That's one way we're able to make those beds
available.

Q. Okay. And one plan that I've heard discussed, in

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fact it's been in the Department's documents for years, is

why don't we contract with community hospitals and other
resources to place some of these men in beds in the community
rather than prison?
A. well, number one is that I think as a general concept
that sounds like a good idea. The problem is that, as you
pointed out, acute care hospitals are not able to take these
patients because the level of care.is not appropriate for
acute care hospitals.

So I've been very busy in the meantime working with
institutions that have a long-term or lower level care
facility probability. And that's why we talking about moving

those patients out into an appropriate setting, whether

‘internally to us by a space that I believe we can put them

to, or externally, and free up those beds.

Q. Have you contracted with any community hospitals of

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any sort, acute or subacute or nursing homes, to begin the
process of moving these men out of these beds to these
community resources?

A. we had several hospitals we have had active dialogue
with, and we're in the process of contractually working with
them, yes.

Now, please remember, I've been here only four
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months.
Q. I understand that. But as of this moment do you have
any contracts with any hospitals?
A. Signed contract, no. But we have a pretty good
possibility of placing some patients shortly, yes.
Q. So right now there are no signed contracts that allow
you to place any patients?
A. Not at the moment. That's correct.
Q. would it surprise you if this has been on the agenda
of Health Care Services for several years?
A. Let me tell you, a lot of things have been on the
agenda, but not accomplished. My goal is to get them
accomplished. I think and I believe in the Plata situation I
was able to do that.

And I believe, the same way that I committed to
Mr. Keating when I came on board, that he will get just as
much of a resource allocation as Plata does because we want

to make sure we adequately take care of all the patients

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regardless what quarter they fall under.
Q. Isn't it correct that the Department had not paid 58
million dollars in fees to community providers of health care
as of two months ago?

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5 A. That is correct. That's the reason Institutions

6 asked the Court to come in and give us the power to pay

7 those.

8 In fact, I was the one that asked for that to come
9 in,

10 Q. So without a court order, you were unable to get

11 the Department to pay its obligations to health care

12 providers in the community?

13 A. I'm not sure without a court order. That's -- I

14 wouldn't -- wouldn't want to say that. But within a timely
15 fashion I needed to get it done. That appears the only way
16 we're able to do that.

17 Q. In other words, you don't go to the court first, I
18 assume first you went within State government and said, "Hey,

19. we got these bills, can you pay them"?

20 A. That is correct.

21 Q. And you were unable to get them paid?

22 A. Not within a timely fashion that's reasonable for me
23 to do that. Because we haven't paid these providers, it's

24 very hard to talk contracts with them or anything else unless
25 you pay them first for past services. Standard business.

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1 THE COURT: No kidding.

2 THE WITNESS: Let's face it, you have to do one thing
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first before you get to the second level.

BY MR. BIEN:

Q. .. This was a very serious problem --

A. Yes, it is.

Q. There were medical care providers that hadn't been

paid for months and months?
A. More than that. More than months and months.
Q. Right.

So it is no surprise that they're less than excited
about contracting with the State given the treatment the
State has treated them -- the manner in which the State has

treated them in the past?

A. I think that's a fair statement to say, yes.

Q. That's interfered with your ability to enter into new
contracts?

A. Surely made it much tougher, yes, for appropriate
reasons.

Q. If I were on the other side of that negotiation, I

would ask for a lot more money and I'd ask for it up front.
A. well, let me put it this way, I'm sure that some of
those things we have paid more than we should have. I'm suré
it is part of that equation.

Q. So as a result of the way the State treated providers

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in the past, it is going to cost them more money to get the
same serves in the future?

MS. TILLMAN: Objection. Argumentative. Calls for
speculation.

THE WITNESS: I'm not sure of that.

THE COURT: Yeah. That's the answer.

But it wouldn't surprise you if that was part of the
process?

THE WITNESS: No. I'm sure it's part of the
negotiation process, yes. Although, we have some other
things that we can negotiate too so I think we can reduce
some of those costs.

BY MR. BIEN:

Q. Doctor, I assume you participated in preparing the
documents filed -- the Bed Plan filed with this Court?

A. I reviewed it, yes, and internally discussed it with
my staff, yes.

Q. On page 1 of that plan in the Background -- Do you
have it there with you, the Bed Plan?

A. Yes, I have it with me.

Q. Okay. I quote from under Background:

"The prison population has continued to grow faster

than CDCR has added permanent capacity. The total

population rose to approximately 168,000 as of

January 2006, which is 5000 more than it was in

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2004."
I'm sorry. which paragraph are you on? I'm sorry.
Under Background?
Yes. I'm sorry. Okay. Yes, I see it.
",..greater than the forecasted population for
January 2006 in Fall 2005. The male inmate
population, which presents the greater demand for
mental health care, currently is housed at more than
200 percent of the designed capacity of the prisons
in which these inmates are incarcerated, leading to
challenges in identifying and dedicating space to
mental health treatment programs."
Then you go on to -- the State goes on to say:
"The population of inmates with serious mental
disorders has increased faster than the overall
population."

Dr. Szekrenyi, isn't it a fact that the overcrowding

crisis has made the job of providing treatment for mentally

ill prisoners in California far more difficult?

A.

well, you know, you asked me some questions regarding

terms of the custodial side, which I am not very familiar

with, but the fact someone is overcrowding, that is assuming

the statement made in here, any time you have overcrowding it

makes it more difficult to move people and get them to a

proper place, plus obviously space becomes more premium.

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1 So, yes, I think that as a general statement that

2 would be fair to Say.

3 Q. Have you been told that there isn't treatment space

4 available for EOPs. For example, that you want to set up a

5 program at Sac. and there is a lack of treatment space?

6 A. I think that every single time we need some more

7 space, whether us or the custody side, we always arm wrestle

8 with that, yes.

9 Q. And each time that you identify a unit that needs to
10 be converted, there's a cost of a unit that's not available
11 for the rest of the prison population?

12 A. I'm not sure about that statement. I think that I'm
13 looking at cost as what is necessary to provide care to our
14 patients. That's all my interest is.

15 And I have, frankly, every Tuesday, almost every

16 Thursday, at two o'clock, met with the Governor's Office and
17 all participants, all departments that are working for the
18 State government to go over those issues and discuss those
19 and get approvals on those. .So I have a methodology to

20 obtain what I need.

21 Q. In any of your discussions with the Governor's

22 office, have you discussed proposals to limit the population
23 going into the prisons?

24 A. No, I have not. That's not my role to discuss that
25 from a health perspective.

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Q. why isn't it your role to discuss that from a health
perspective?
A. I don't control the population. I don't have

jurisdiction over or in a sense anywhere information
available to me, nor is my role to. I have to deal with the
patients that I have that's coming to me. That's my
responsibility. How they get there is somebody else's.

Q. Did you hear anyone in the Governor's office discuss

the possibility of attempts to limit the population going

into the Department of Corrections?

A. Not that I know of because I'm not privy to those
kinds of meetings. It is not related to health matters.

Q. No one in your presence has discussed efforts to
limit the population going into prisons?

A. Not to my knowledge, no.

Q. Have you ever heard of any discussion to limit parole
violators who are mentally i111 returning to prisons and
development other programs for those?

A. I am very much involved in that one, yes, because I
have a specific program that I'm trying to look at not to
have those prisoners come back to prison but be treated on
the outside. Yes, that's one of my pilot projects.

Q. If such a project was implemented, it would take some

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24 of the pressure off of the reception centers who are trying

25 to handle these men?

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That's correct.

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MS. TILLMAN: Your Honor, I'm becoming concerned
we're getting into another case called Valdivia. I'm very
-hesitant to go there at this point given my expertise in
Coleman and not Valdivia.

THE COURT: I fully appreciate your problem. TI am
starting to think that at some point I'm going to have to

have a hearing in Valdivia, which has to do with this very

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problem. And I asked my special master what he thought the

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effect would be, and he said presently marginal. And maybe
11 we have to try and figure out some way to make it something
12 less than marginal. But I would agree with counsel that's
13 probably not the appropriate -~ that's not this case's

14 appropriate subject.

15 MR. BIEN: May I go a little further and tie it back
16 into this case, Your Honor?
17 THE COURT: You may.

18 BY MR. BIEN:

19 Q. I'm not talking about procedures. I'm talking about
20 isn't it a fact, Doctor, that there are parolees coming back
21 to prison for the purpose of getting psychiatric care in the

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reception centers?
A. That is correct.
Q. Okay. And are the reception centers designed to --

at this moment designed and staffed to provide psychiatric

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care for short-term parolees who need to be stabilized or
returned to the community?

A. Not to my satisfaction.

Q. Are you aware of any program in the MHDS, the
existing Coleman treatment program, to provide treatment and
stabilization for this purpose, parolees coming in for short

terms, then to return them stabilized to the community?

A. Nothing specific. No. Just general Coleman
population.
Q. Have you been asked to work on a pilot project to

provide that?

A. I have proposed a pilot project on that one because I
have a special interest in making sure we have a proper way
of addressing that issue outside of the confines of our

institutions.

Q. Okay.
A. That pilot project is one of my priorities.
Q. Are you aware that a man died at DVI who had been

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returned to prison in November of 2005 for the purposes of

psychiatric care?

A. I'm sorry. Prior to my time or not, I'm aware of
every death that happens. After I got here, I got called
every night regarding if it happens. And I'm very much aware
of that. But in that particular case, I'm not aware of it.

Q. You haven't done any review of the death that

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occurred on November 29th?
A. I have not personally, no.
Q. Have you discussed the case?

There was a picture that was shown around. I'm sure
you saw it yesterday.
A. I did not see it. I'm sorry. I was in the court
matter here, so I didn't see any picture or news paper
articles here.
Q. So you're not aware of this case?
A. Not personally, not at this stage. Sounds like I may
need to be, but not at this stage.
Q. Okay. You're aware that at DVI, at San Quentin, at
other reception centers, they're over burdened with mentally
i11 prisoners who they're unable to provide treatment for at
the moment?

A. Yes. I'm aware of that.
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Q. You're aware that the Department is not meeting its
transfer timelines for moving EOPs -- prisoners who need a
high level of care, Your Honor -- out of reception centers to
EOP ._programs?
A. I'm aware of it, that we're not meeting the standard
of care that we should be providing, yes.
Q. And you're aware that there is a tremendous shortage
of mental health crisis beds in the system right now?

A. Absolutely.

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Q. And that was the case also when you came on board in
December?
A, I inherited that, yes. If that's what you mean, yes.
Q. And the Bed Plan says that you don't see any need for
any additional mental health crisis beds in the long-term;
isn't that correct?
A. well, the Bed Plan, I think, addresses those needs,

all the needs that I believe in the long-term we need. The
crisis beds or intermediate care or acute beds all have been
addressed is my understanding given the population that at
that time was forecasted.

Q. Okay. what is your basis for saying that there's no
need for additional mental health crisis beds in the long

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range plan?

A. I'm just addressing the issue that Doug McKeever
mentioned, that a committee was set up prior to my time,
going through this process.

My understanding is that based upon the formulas and
what they developed and the population base at that time,
what they considered that to be, that based on the numbers an
adequate appropriation by the year 2011-2012 is when the beds
would be coming on line.

THE COURT: Except we now know those projections are
wrong.

THE WITNESS: Yes, I understand that. I'm just

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referring to the plan that was filed at that time.
BY MR. BIEN:
Q. Okay. So besides -- You know the plan is wrong.
And -- .
A. we all realize it needs to be adjusted for the
additional population, yes.
Q. Are you aware that the Tucker-Alan Plan, that study
done in 2002, was not adjusted based on the UNA Study for
purposes of these mental health crisis beds, that number
remained the same?

A. No, I'm not aware of that because I'm not involved in
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12 that technical level.

13 Q. You understand that based on the UNA Study, a very
14 major adjustment was made.for inpatient beds?
15 MS. TILLMAN: Objection based on lack of

16 foundation.

17 THE COURT: He's asking whether he's aware of it.
18 THE WITNESS: I'm not.

19 BY MR. BIEN:

20 Q. You're not aware --
21 A. That detail of study, I'm not aware of that.
22 In terms of conclusions, when they came up with it,

23 how they got there, in terms of the methodology employed, no,
24 I'm not.

25 Q. Okay. Judge Karlton just said, which I think is

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1 obvious, that there was some serious problems with
2 projections in the Tucker-Alan Study.
3 Do you understand that?
4 A. I understand Judge Karlton said that, yes.
5 Q. You understand that the Department's been planning
6 its beds based on the Tucker-Alan Study based on orders from
7 this Court for several years?
8 Do you understand that?

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A. Yes.

Q. Okay. And right now there is a shortage of inpatient
beds, correct?
A. My understanding currently is that is not the case.

Inpatient beds are not something that we currently need right

now.
Q. So you don't think there is any shortage of ICF beds?
A. ICF, absolutely. 125.

Q. There is a serious shortage of Level IV ICF?

A. Serious shortage, yes.

Q. You're comfortable there is no shortage of APP beds?

THE COURT: TI don't know what APP are.

MR. BIEN: APP is the highest acute level now at CMF.

THE WITNESS: My understanding, based upon referral
patterns and everything else, no, there is not a need there
right now. That's my understanding.

That may be wrong, but that's my understanding.

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BY MR. BIEN:
Q. Okay. Are you aware that it can take several weeks
for a patient to get from a prison to an APP bed right now?
A. I'm aware it takes longer than it should take, yes.
we are working on that process.

Q. Are you aware there have been waiting lists for APP
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7 beds in the last few months from time-to-time?
8 A. Yes.
9 Q. Okay. And you have submitted to the Legislature a

10 plan to add 350 more APP beds?
11 A. we have the Bed Plan that you see here. we have

12 submitted that to the Legislature, yes.

13 Q. So you do think there is a need for more beds?

14 A. Yes, there is, down the line.

15 Q. You agree there is a need for more ICF beds?

16 A. we agree.

17 Q. You have a waiting list right now?

18 A. Yes. That's the reason we address that issue.

19 Q. And you agree that there is a tremendous shortage of
20 mental health crisis beds right now?

21 A. Yes.

22 Q. And you agree that there's a shortage of EOP beds,

23 Extended Outpatient Beds?
24 MS. TILLMAN: Enhanced Outpatient Beds.
25 BY MR. BIEN:

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1 Q. Enhanced Outpatient Beds?
2 THE COURT: I'm pleased to hear that even the lawyers
3 don't know what the acronyms are.

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4. BY MR. BIEN:

5 Q. Is that correct? It's on page 8 of your study?

6 A. I'll take a look at it just to be sure we're talking
7 about the same thing.

8 (Witness reviews document.)

9 Yes.
10 Q. "CDCR has an immediate need for EOP beds and
11 recognizes its need to increase capacity in the
12 _ shortest time possible."
13 A. Right.
14 Q. Is it correct that the plan shows a gap of over 1000

15 Enhanced Outpatient Beds? Your gap?

16 A. The gap, yes.
17 Q. Okay. So you got -- you have shortages at --
18 OA, All levels.
19 Q. -- all levels?
20 A. Yes.
21 Q. Okay. And you have people who are not getting the
22 care they need at all levels?
23 A. Unfortunately, yes.
24 Q. And some of these people are deteriorating and in
25 pain as a result?

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1 A. Yes.

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Q. Okay. And some people are dying as a result?

MS. TILLMAN: Objection. Calls for speculation.
Outside the scope.

THE COURT: Do you have an opinion, Doctor, at this
Stage whether, in fact, there are deaths being caused by the
lack of appropriate psychiatric care?

THE WITNESS: As I understand it -- Let me put it
this way, death can occur from two things. One, either lack
of care or giving care -- inappropriate care. It depends
upon what happens in each of those instances. I'm sure we
can look at those deaths. I'm sure some would have been
preventable, yes.

BY MR. BIEN:
Q. Okay. Did you participate in the survey of existing
mental health crisis beds to see how many were really

available and how many were not?

A. Did I personally participate? No.

Q. Okay. Are you responsible for that survey in any
way?

A. No, I'm not. But staff is doing that, whoever was

doing that survey. Doug McKeever, my point person in that
one, he would have participated, been involved in that one.
Q. Are you aware that when the Department went out for

purposes of making this filing to the Court, I assume, as

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accurate as it could, went out to confirm how many mental
health crisis beds do we really have available, it found a
different number than what you had reported to mr. Keating
only a month or two before?

A. I'm not aware of that personally, no. Like I said,

. if you have a specific question like that, Doug McKeever

would be the more appropriate person to respond to that.
Q. Are you participating in the process of this idea of
using LOU -- it is called a Locked Observation Unit, Your
Honor -- at California Medical -- cmc, California Men's
colony?
A. _I'm aware that it is one of the options we are
looking at. Yes, I am.
Q. And what is that option that you're looking at?
This is a -- want to describe for the Court what a
"unit" is?
AL We're looking at the -- Let's see the option of the
LOU. Let me see. Where are we?
I'm trying to find that right now. I'm sorry.
MS. TILLMAN: Counsel, are you looking at page 10?
MR. BIEN: It is one of the Judge's questions.
THE WITNESS: Enclosure 10, right. First one, right?
MR. BIEN: Right.
MS. TILLMAN: If I might interject, I had planned to

have a different witness testify to question 2 posed by the

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1 Court, if the Court desired more testimony.

2 THE COURT: Let's wait for that.

3 THE WITNESS: That will be fine. Thank you.

4 BY MR. BIEN:

5 Q. So you're not personally involved in that plan?

6 A. Not at this stage, no, because it is one of the

7 options that came up. I will be involved with it now in

8 making sure within the 60 days we complete that, get the

9 action done, yes. When they came up with that originally, I
10 was not involved in that one, no.
11 Q. You said that -- I don't really know your background.
12 It sounds like you had a lot of great experience.
13 Do you have any experience in actually constructing
14 and licensing health care facilities?
15 A. Yes.
16 Q. Okay.
17 A. I have licensed several facilities.

18 Q. Were you involved in a facility from point of design
19 through construction to licensing?
20 A. That's correct.
21 Q. Okay. What steps did you take to investigate whether
22 or not the mental health crisis bed project at CMF could be
23 accelerated as ordered by this Court?
24 A. I haven't taken any personal look at that. However,
25 I had a discussion with George Sifuentes about some of the

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processing, what we can do, and we did come up with some
possibilities how we can shorten that process.

MS. TILLMAN: Again, I would interject that that's
Question 7 on the Court's list. I had anticipated presenting
George Sifuentes to respond to that.

THE COURT: You're going to recall mr. Sifuentes?

MS. TILLMAN: Yes, Your Honor.

THE COURT: All right.

MR. BIEN: Your Honor, EI think it is important that a
man of Dr. Szekrenyi's stature and experience, who can bring
to this process -- I will just say some different reality
than people who have been involved in the State year after
year. This is exactly what we need now. And I think L'd
like to ask him.

BY MR BIEN:

Q. There are various things that can be done in
construction projects to speed them up?

A. That's correct. we have discussed those options.

Q. Some of them are asking the contractor that we'll pay
you more if you finish it quicker; isn't that one of the
options?

A. Yes, it can be. Design is as designed. Not a lot of
things can be done. Yes, options are available, yes.

Q. Can you testify here today that every possible option

of accelerating that project has been explored and to your
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1 ~~ satisfaction?
2 A. No. But it will be explored within the 60 days or 45
3 days, whatever days we are given to do that, yes. That is
4 the exact reason why I'm asking for that time frame.
5 Q. Okay. So you think there are possibilities for
6 accelerating the project?
7 A. In my opinion. But we may need the Court's
8 assistance in terms of actually accomplishing it, yes.
9 Q. with all due respect, you're aware this was a court
10 order to do this by April 17th, the same court order?
11 A. I understand in terms of complying with the court

12 order we've given the best effort we could within the State
13 system, but since that time I believe we found some other
14 alternatives that were not previously available to us.
15 Q. Okay. So you feel that in complying with the April
16 17th Order as to this CMF MCCV project being accelerated, the
17 State did not explore all possible options?

18 A. No, I didn't say that.
19 I think the State, within their system and what they
20 are required to do, I think they explored all the options.
21 THE COURT: We're talking about something else, and
22 that is everybody thinking outside the box.

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THE WITNESS: Yes.

THE COURT: Everybody stop worrying about what the

State process is and making things happen.

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_ Counsel's question is in your view, you believe that
if we stop worrying about the State process, there may be
ways of achieving acceleration, even if those require the

Court to say that those aspects of the State process will not

apply?
’THE WITNESS: I believe so. That's correct.
BY MR. BIEN: .
Q. So more iS possible?
A. In my opinion, thinking outside the box.
Q. And you think it is important that we accelerate

these projects?

A. Absolutely.

Q. In fact, it may be life saving to accelerate these
projects?

A. AS I mentioned before, patient care is my issue.

That's what I care about. That's what I'm here for. And it
is very important to me, life and morbidity and mortality. I
deal with it every day. It is very important.

Like I said, every time a death happens, I get called

that night, what it is. And I know every one of those things
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happening, and I wish it wouldn't happen.
Q. when we were concerned about ideas for using space,
yesterday you heard the discussion about the P-2 Unit at CMF?
A. Yes.

Q. Okay. And the issue that we as plaintiff's counsel

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are considering, and the Court is considering, is do you let
the State operate an unlicensed facility that violates
standards when the alternative is not having --

THE COURT: Nobody gets treatment.

MR. BIEN: -- nobody gets treatment at all or very
poor treatment. And I think, as you can hear, certainly
plaintiff's counsel, very reluctantly, is advocating some
compromises in basic patient standards that are established
by the State for very good reasons, health and safety
Standards, but we're concerned that if that door is opened,
you know, will the State actually meet the standards in a
reasonable time?

THE COURT: You know what, Mr. Bien, don't worry
about that. That's not this witness' problem. That's mine.

If I permit the State -- if I require the State to
abandon standards on a temporary basis because of the
emergency, I assure you that I will issue an order which

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requires the State to come into compliance.

The only question is that the sensible thing to do.
Are we doing more danger -- is it more dangerous or not? And
that is a question. that I really do want to ask this witness
because I assume that this witness does have expertise. And
that's why I started all of this by asking Mr. Sifuentes what
his view of it was, you know, whether we could do it and how

long it would take.

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And I ask you, Doctor, are you familiar with the
facility that Mr. Sifuentes oversaw which required 23 waivers
to get it done on a timely base, and in your view, is that
the appropriate thing to do given the crisis?

THE WITNESS: Well, in my opinion we are looking at
what is the incremental value of doing something.

If a patient does not receive appropriate care now,
if it can be provided by faster care on some level, maybe it
is not a hundred percent, it is not complete, you can do
better, but it is better than no care at all. So my opinion
is that we should take the shortcuts if you can.

And some of those licensing restrictions, like I
said, I think the State is willing to work with us. Because
some of that includes, for instance, pharmacy, some dietary

that can be solved in other ways and physically has to be on
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site.

So I believe we can meet the intent of the licensure
issues without necessarily having to be the letter of the
law, and given the fact we'll have a permanent solution,
which is the goal to have, I think they would be more than
inclined to work with us given the crisis that we're in.

THE COURT: I think what I heard is something like
this and let me paraphrase: The situation is sufficiently
serious that deviations from the ordinary standards which we

ought to apply are appropriate.

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THE WITNESS: Yes.

THE COURT: I mean, I don't think you can answer this
question, but you see mr. Bien, he's arguing. He's supposed
to be questioning. Perhaps he doesn't know that. But there
is a serious problem with the continued and accelerated
growth in population which raises the specter that we'll
never catch up. we'll be so busy trying to deal with the
unforeseen increases or unaccounted for increases that we'll
never go back to correct -- to bring the State to full
licensure standards.

You see what the concerns are?

THE WITNESS: Yes, I See that. But to tell you the

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truth, I think most of the time, when I have dealt with

licensure in the past, in my past life prior to this, we
always had sometimes some licensure waivers, but always a
requirement within a certain period of time you come back to
standard.

I think it's the normal response of a state agent to
say, “Look, I will give you a. temporary license because I'll
accept the reason you want it for, for the greater good, I'11
go along with you, but you have to comply by a certain time.”
And that's usually put into the requirement when you do that
so you know exactly when you come back to standard.

That's a normal situation that licensing would do. I

think that is certainly acceptable from our standpoint.

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THE COURT: All right.
BY MR. BIEN:
Q. A lot of things we've been talking about,
Mr. Sifuentes' department is construction and size and air
conditioning, things like that, but we're most concerned with
clinical care, clinical staffing. .

we don't see -- I don't see in this Bed Plan -- maybe
you can tell me where I'm missing it -- any plan to meet the
other obstacles the State has had, which is there a plan to

fill the clinical positions that are vacant and are stopping
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11 you from being licensed at various positions -- various

12 places?

13 A. Yes, there is a plan. As far as I'm concerned, I
14 think we need to address the salary issues and we need to
15 address working conditions. And I intend to do that in short
16 order. —

17 Q. But there is no -- you did not submit that in this
18 plan?

19 THE COURT: This was a Bed Plan.

20 THE WITNESS: This is a Bed Plan.

21 MR. BIEN: Your Honor, in the Bed Plan, in order to
22 license this facility, we need staff. And you ordered them

23 to both build and license and staff. And then one of the
24 problems, like the Coalinga problem is it's a beautiful

25 building, it just has no staff. That doesn't do us any good.

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1 THE COURT: It doesn't do you any good for other
2 reasons as well.
3 MR. BIEN: Right.
4 THE COURT: I mean, that's a serious problem that
5 we've ~- I'm going to have to talk to you lawyers about when
6 we get finished with the evidence and what we do about that.
7 I mean, it's just -- with this crisis it is shocking

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8 to me that there are apparently 1000 beds sitting out there,

9 but they're not constructed for what we need.

10 Let me ask you a question, Doctor.

11 THE WITNESS: Yes.

12 THE COURT: This occurred to me last night, and I
13 assume I just didn't understand so I haven't asked anybody.
14 Let's assume that we could move a whole bunch of

15 Level III and II and I's -- I don't know how many there are.
16 Apparently, Level Iv is the crisis.

17 THE WITNESS: Yes.

18 THE COURT: Right now Coalinga will not accept the

19 so-called high-custody Level Ivs.

20 Are there enough Level I's and II's and III's that we
21 could just move into Coalinga to free up enough space that we
22 could convert into a Level IV a facility? Or is that not

23 realistic because the construction costs and the custody

24 requirements for Level IV would just delay any useful help?
25 I don't know.

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What's the answer? Do we know?
THE WITNESS: No. I don't know the answer to that,
but certainly I'd like to explore that. But I think, as I

mentioned to you, the number of beds that we have planned,

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are currently looking at, should be sufficient to meet our
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crisis needs right now, the 75 beds and the 125 beds gap we
have right now.

So we will look at this option which you suggested.
Everything's on the table as far as I'm concerned. we need
to solve the problem and now.

THE COURT: But I mean, part of this thing is this --
counsel is absolutely right, it is this population pressure

and the never-ending need to serve this population which

"grows at a level which exceeds anybody's expectations.

well, okay. I'm just talking to myself. That's not

a question. I'm thinking out loud. It is beside the point.

Go ahead.
BY MR. BIEN:
Q. Doctor, you're aware that in the Plata Case the

receiver has: taken steps to improve the ability of the
Department to hire clinical staff?

A. Actually, in technical detail, actually the Court
did. The Court demanded that prior to the receiver coming on
board.

Q. where was that mandate?

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A. December 1 Mandate. when I came on board, the same
day that was issued. It required us to provide certain

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salary increases to nurses and to physicians in the hiring

practice to speed up the process of hiring. So it provided
basically a court order to do something that in their opinion
was necessary to get the positions filled.

AS a consequence of that, I can tell you that we were

able to fill most of those positions that we have --

Q. Okay. And --
A. -- in one form or another.
Q. Is it correct at this moment in time there is no

proposal by the Department of Corrections to do the same for
mental health classifications that are unfilled?
A. That's not necessarily the case. we just got
finished --

MS. TILLMAN: I should have objected. I believe we
are preparing a response to the Court Order --

THE WITNESS: I was going to say it is due May 1.

MS. TILLMAN: -- on those issues. We can certainly
probably discuss them more fully once-.those plans are
presented.

THE COURT: Those are plans in the works?

MS. TILLMAN: Yes.
BY MR. BIEN:

Q. My question stands right now has the mental health

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side of the table done what the medical side of the table has
done to fill the vacant positions?

As of this moment is there something in place?

A. As of this moment, no. ‘Today, no.

Q. Is it also correct that there has been no finance
letter submitted by the Department of Corrections for such
authority to hire above minimum and do things like that for
the mental health positions?

MS. TILLMAN: Objection. That calls for confidential
information. Generally speaking, those finance letters are
not subject to disclosure.

MR. BIEN: You attached it to this very document.
It's attached to the Bed Plan.

THE COURT: The objection is overruled.

MS. TILLMAN: If it is that one, we can discuss it.
BY MR. BIEN:

Q. My question is as of March 30th finance letters were

submitted; isn't that correct?

A. Yes.
Q. Did the Department submit a finance letter asking for
authority to hire staff above minimum -- hiring above minimum

for the mental health positions as of March 30th?

A. A request to hire above minimum and also provide
R&Rs.
Q. For all mental health staff?

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A. At certain places where we feel it is a more severe
need, yes.
Q. So you are saying that's already been submitted to

the Legislature?

A. It's been requested. I don't know about the
Legislature. It is requested from the Finance Department.
Q. I can tell you that at the Department of Finance
website it lists all such documents, and when I checked it

over the weekend, there was no such document listed.

A. we have a request from the Health Care Division, yes.
Q. ‘You don't know whether it has actually gone to
Finance?

A. That I don't know.

Q. As of right now, you don't have authority to do such?

THE COURT: Authority from whom? To submit?
MR. BIEN: Authority to hire.
THE WITNESS: Right now I feel, in my opinion, the

salary level we offer is not sufficient to attract

candidates.

BY MR. BIEN:

Q. Not sufficient?

A. That's correct.

Q. Okay. But right now you don't -- you haven't gotten

over that hump? You don't have the authority to hire people ~

at the level you need to hire them at? You don't have the

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money to offer?
A. If you ask me at this stage do I have a salary level
that's commensurate with what I think it should be to hire
somebody, no, I don't have one right now.
Q. And you're going through the normal state process in
Coleman?

we haven't seen any evidence, but you say you're

trying to go through the normal state process. And if you're
successful in getting a finance letter actually submitted and
getting it into the May Revise and getting the Legislature to

approve it, and the Legislature actually approves the budget

and it is signed, wouldn't there also be a several month

delay before you actually will be able to use that authority?

A. Through the process it goes through, yes.
Q. Sometimes it's been seven, eight, nine months before
someone -- a warden in a particular facility could actually

use this money to hire someone; isn't that correct?

A. I don't know about time frame. I haven't been here
long enough to know about that.

Q. would it surprise you that under the state process
you have to go through several steps before this proposal to
Finance turns into authority to actually go out and offer
Doctor Jones a job at Salinas Valley?

A. No, it would not surprise me. No.

Q. Is there something that you think you could do to get

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the authority to do that more rapidly?
A. I think, yes.
Q. Okay. Isn't that something that Judge Karlton should
consider as an appropriate order in this case?
A. I think we will respond to Judge Karlton -- I think

May 1 is when the appropriate response is due to him on the
salary issues.

Also, I can tell you I will be discussing this with
the Governor's Office at two o'clock today in our meeting.
It is one of the issues we have been discussing and looking
at it. And we do have a DPA survey clearly indicating that
psychiatrists need an increase in salaries.
Q. It 1s not just psychiatrists that you're having
trouble hiring?
A. That is correct. ATl the other basically health care
components, yes.
Q. One reason you're discussing psychiatrists is that
this judge ordered you to do that several months ago; isn't
that correct?
A. well,-no. It is one of the reasons obviously, but
not the only reason. Believe me, health care is my issue.
If I can't get staff to provide health care, that's a problem
for me with or without court orders.

Q. One of the proposals --
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MR. BIEN: I'm sorry, Your Honor. Did you have --

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THE COURT: I'm just thinking.
Go ahead.
BY MR. BIEN:
Q. One of the proposals that has been discussed in your

plan as a possibility as an interim measure is using these
Outpatient Housing Units, OHUs, making more use of them for

mental health care; is that correct?

A. . well, that's been considered, yes.

Q. Are you aware of any staffing requirements that the
Department now has -- mental health clinical staffing for
OHUS?

A. We have internal requirements, yes, for staffing
OHUs.

Q. Have you reviewed them?

A. I don't know personally exactly what they are in

terms of ratios, but I'm pretty well aware generally what
they are, yes. .

Q. Do you think that the OHU staffing, if it is going to
be used for mental health care, should include coverage both
during the day and at night?

A. The OHU staffing that we currently have is for

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medical needs, not for psychiatric needs. So it needs to be

adjusted for that. whatever it takes. It would be a higher
level staffing, yes.

Q. would you agree with me it needs to be 24-hours a day

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staffing?
A. That I don't know. I need to discuss that with my
staff and my psychiatrist to find out the answer to that. 1
don't ‘know that offhand.
Q. . Let's assume, as a hypothetical, that your OHUs are
being used for suicide watch, as they are being used, as I
can show you, all over the state. And these suicide watches

happen over night?

A. we addressed the suicide watch. We have one-on-one,
24 hours.
Q. Do you have clinical staff on duty, not correctional

officers, but clinical staff devoted to the mental health
crisis beds, 24-hours a day, seven days a week -- I'm

sorry -- devoted to the OHUs 24-hours a day, seven days a

week?
A. I don't know that for a fact, no.
Q. The proposal you made, which was discussed with

plaintiffs and Mr. Keating, provides only five days of

coverage; is that correct?
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20 A. That was proposed.

21 Q. And it provides no coverage over night for clinical
22 staff?

23 A. Like I said, I don't know that offhand.

24 Q. Don't you think it should provide coverage over

25 night?

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1 A. Like I believe I said before, I don't know. I need
2 to talk to my specialist to find that out.
3 Q. You don't feel qualified to answer whether or not if
4 you have someone on suicide watch over night --
5 A. Suicide watch we talked about that. We've got
6 24-hour coverage. So please take that off the table because
7 it's been addressed, suicide watch.
8 THE COURT: I think that there's a disconnect in the
9 question and the answer.
10 THE WITNESS: Okay.
11 THE COURT: As I understand the answer it is we've
12 got suicide watch coverage 24-hours a day. By that you mean
13 there's at least custodial staff.
14 THE WITNESS: A person appropriate to the watch, yes.
15 THE COURT: But counsel is asking a different
16 question, which is should there be clinical staff as well as

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custodial staff on 24-hour call.

I don't know the answer to that. And I'm not -- the
question is do you have an opinion about that, and if your
answer is that I can't have an opinion until I understand the
process and I've got to talk to my staff, then I'll accept
that.

THE WITNESS: I was trying to say that. I need to
talk to my staff to find out, talk to my psychiatrist and to

Doug McKeever also.

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BY MR BIEN:
Q. Are you aware in the program guide standards when
someone's on suicide watch, not only should there be someone
outside the door watching them constantly, a custodial
officer or someone non-clinical, but there should also be a
clinician or a nurse making rounds and making notes every 15
minutes, half-hour period?
A. we have a policy --

MS. TILLMAN: Objection. Outside the scope of this
hearing. we have already established that there are programs
subject to that litigation. That might well be one of these
issues before the Court at a later time today, what the
program guide issues are and what will be litigated. It

seems like we're already litigating at this hearing.
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THE COURT: I understand, ma'am. I understand your
position.

MR. BIEN: I'm not asking about change. I'm asking
about the existing program guide.

THE WITNESS: what I'm saying, to answer --

THE COURT: NO. Just hang on. I'm just trying to --
I'm trying to balance my need to get this hearing done with
my need to know what's going on.

I'm going to sustain that objection only on the basis
that we're going to have, hopefully, a full-blown hearing

about the program.

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You may proceed, Mr. Bien.

MR.’ BIEN: May I make an argument about that point,
Your Honor?

THE COURT: Yeah.

MR. BIEN: The issue is right now today we're dealing
with horrible compromises, and right now today there are
people on suicide watch who everyone agrees should be either
in a DMH facility or a crisis bed who are instead housed in
OHUS or even at Ad. Seg. cells. we attached that as one of
our exhibits.

THE COURT: TI know.

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12 MR. BIEN: So the question is, in the interim, how
13 can the Department put a proposal it doesn't provide staffing
14 to meet their own standard, even in these improper places.
15 We think, at minimum, they have to get the clinical
16 staff that they know are necessary, even if they're in the

17 wrong types of facilities. '
18 THE COURT: I understand your position.
19 Please, go on, sir.

20 BY MR. BIEN:

21 Q. Doctor, isn't it correct that your -- the Bed Plan
22 does not provide beds, even in 2011, for all the patients
23 that you expect are going to need Enhanced Outpatient Care?
24 A. I don't know the answer to that, to tell you the

25 truth. I have to refer to the document to look at that.

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1 offhand, I don't know that.
2 Q. But do you have that page that's called Closing The
3 gap? It's the chart?
4 A. what page are you referring to?
5 Q. I think it's your exhibit -- your Attachment 2; jis
6 that right?
7 A. I don't have. Attachment 2 to my filing.
8 Q. we'll get you a copy in a minute.
9

Are you aware that the Bed Plan submitted does not
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provide all the beds that are projected to be needed for
Enhanced Outpatient in 2011?

THE COURT: He just said he didn't know.

BY MR. BIEN:
Q. You're not aware of that fact --
A. I'm not aware of that.

THE COURT: He's got to look at the document is what
he said. .

(Document handed to witness for review.)

MR. BIEN: Your Honor, this is Enclosure 2.

THE COURT: TI know.

MR. BIEN: I've handed the witness Enclosure 2 to the
Bed Plan. ©
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BY MR. BIEN: .
Q. Are you familiar with this document?
A. Yes, I have seen the document. You talking about the

details of it, no, I'm not. But generally I'm familiar with
it, yes. But not the details of it.
Doug McKeever would be a more appropriate person to

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respond if you have a specific question on it.

THE COURT: This is the document?
MR. BIEN: Right.
THE COURT: Yeah.

MR. BIEN: Your Honor, do you think we should mark

it?
THE COURT: It's an exhibit.
MR. BIEN: It's an exhibit. All right. Okay.
BY MR. BIEN:
Q. On the top line under EOP; do you see that?
First line?
A. Yes.
Q. Right. Isn't it correct that shows that as of July

2011, if everything that the State is planning to happen

happens, there will be a 1300 bed shortage for Enhanced

Outpatient?
A. 1336, yes.
Q. 1336 beds.

And that would be approximately, what, 20 or 30

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percent of the population would not have treatment care?
A. Uh-huh. Yes.
Q. Okay. Do you think it is appropriate for the

Department to propose a long-range plan to provide health
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care that leaves a gap of 1300 beds in 2011?
A. well, like I said to you, this whole process started
prior to my time coming in. I was not involved with this
process, doing this. But also you need to understand we have
started already a secondary process on our own identifying
EOP needs. So we intend to address that by the time we get
to that stage.

THE COURT: The question was somewhat different.

THE WITNESS: I'm sorry.

THE COURT: It really dealt with the mind set. It
said -- I was about to say something very nasty.

Is it appropriate for the State to recognize that its
proposals will leave 1336 patients without appropriate care.

THE WITNESS: It should address all the needs.
That's correct. It agree with you, it should address it.

THE COURT: TI know you didn't do it. Can you explain
to me how this happened?

THE WITNESS: No, I can't. Like I said,
unfortunately, I was not in the process of this one, in doing
this thing. So I'm no the aware of that, no.

THE COURT: All right.

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BY MR. BIEN:

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2 Q. will you commit to us, Doctor, that the next plan we
3 see covers all of the needs that the State itself projects
4 for this patient population?
5 A. At the next --
6 MS. TILLMAN: I'm sorry. Objection. That's vague.
7 What next plan are we referring to?
8 I think we're here about --
9 THE COURT: The Doctor has just said that they are in
10 the process of revising the Bed Plan. And mr. Bien's
11 question is a very straightforward one. will the next
12 proposed Bed Plan actually address need?
13 THE WITNESS: Yes. I think the next proposed Bed
14 Plan that we talked about will be updated for the new
15 population base anyway. And a part of that one will be
16 addressing all the needs.
17 THE COURT: Folks, we're going to take a 15 minute
18 recess.
19 I have an outside meeting. I'm probably going to
20 break at 11:30 and reconvene at 2:00. Is that -- I know
21 you're going to be gone for the meeting. Are we going to get
22 him done by 11:30?
23 MR. BIEN: Sure.
24 THE COURT: A111 right.
25 Am I inconveniencing anybody else?

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All right. That will be the order then.

(off the record at 10:41 a.m.)

(On the record at 11:00 a.m.)

THE CLERK: Please, remain seated.

Court is now in session.

THE COURT: Please, be seated everyone.

Mr. Bien, I am, as you obviously are, troubled by the
process by which the Department is always a year behind what
it needs.

I'm not sure if this hearing is the appropriate
hearing to address that, but it is clear to me, counsel, that
it's something we've got to think about and how to make it
stop happening.

I've sort of tried to cut you off from exploring that
because I'm not sure this is the right hearing, but I want to
assure you that I am as troubled by it as you are. And we're
just going to have to think about what else to do. So the
fact that I've told you let's get on with what this hearing's
about doesn't mean that I don't appreciate how right you are
about this being a process problem that's got to be solved.

Anyway, go ahead.

MR. BIEN: Thank you, Your Honor.

I won't belabor that point.

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BY MR. BIEN:
Q. Doctor, one of the things you've testified here today
is that you need to explore various options, at least for the
interim, to make sure that Department can do a better job in

providing care for mentally il] patients; is that correct?

A. Yes. For the short-term, yes. Address short-term
needs.

Q. And there's a short-term crisis?

A. Yes, there is.

Q. Okay. Have you explored obtaining short-term acute

psychiatric care in community hospitals as an option in
certain areas of the state?
A. we have not. Not to date, No.
Q. why not?

THE COURT: Because they can't get them into the
state hospitals. How are they going to get them into a

private one?

I'm sorry. I didn't mean to -- but it's a --
_BY MR. BIEN:
Q. I guess just to establish that that has not been
investigated?
A. It has not been investigated, no. It doesn't mean it

won't be, but it has not been to date, as far as I know.
THE COURT: May I interrupt? I want to ask a

different question.

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The Department of Mental Health, I mean, they're good
at it. They've managed to get their docs paid the same level
as your docs, despite the fact that they won't take the most
seriously i111 folks. And we'll see whether that continues.

Is it your view that psychiatrists, dealing with
Level Iv, high-custody are just, by the nature of things,
that's not in the -- that's not an attractive body of
patients, and there's got to be some inducement to get --
some extra inducement to get those folks treated?

THE WITNESS: Yes. My point of view is that people
working the CDCR, in a sense, should be deserving what I
consider to be combat pay. There should be some recognition
that the working conditions they are under, the workload, the
patients they are dealing with to a large extent are a lot
more hazardous and a lot more challenging, if you will, than
some of the counterparts in other places, yes.

THE COURT: All right. Go ahead.
BY MR. BIEN:
Q. You testified earlier about a DPA survey of
psychiatrist salaries. Do you recall that?
A. What I mentioned is DPA did a survey on a number of
positions, include psychiatrists in there, yes.
Q. Did they determine that the market rate for
psychiatric compensation was higher than what the CDC is now
offering?

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MS. TILLMAN: Your Honor, if I might interject again,
I think that goes to the Court Order of March 3, paragraph 1,
about reducing psychiatrist vacancies. we are intending to
comply with that Court Order with a plan on its due date of
May 2006. If we could not be premature in that response, I _
would appreciate it.

THE COURT: I'm going to -- again, this is another
subject that I think is of -- I now begin to understand is of
critical importance, but this is not the scope of this
hearing.

MR. BIEN: I guess the point is, Your Honor, if you
look at the chart submitted in this bed plan, the reason some
of the crisis beds are not open is that a psychiatrist is
missing, staff missing. And it is -- You can't do one
without the other.

THE COURT: TI understand. —

MR. BIEN: You know --

THE COURT: Is it correct there are beds available
which can't be opened because there is not personnel to staff
it?

THE WITNESS: That is correct. Yes.

THE COURT: Okay.

MR. BIEN: That's why, Your Honor, we're concerned
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